 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 1 of 16 PageID #:4440



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,
                                                         Case No. 09 CR 687-4
            v.
                                                   Judge Harry D. Leinenweber
DWAYNE WHITE,

                      Defendant.



                         MEMORANDUM OPINION AND ORDER

       Defendant Dwayne White’s Motion for Compassionate Release

pursuant to the First Step Act, 18 U.S.C. § 3582(c)(1)(A) (Dkt.

No. 372) is granted. White’s sentence is reduced to time served.

This Order is stayed for fourteen (14) days for the verification

of    White’s    residence,       to    finalize   his    release      plan,   to   make

appropriate      travel      arrangements,       and     to   ensure    White’s     safe

release.

                                       I. BACKGROUND

       The Government previously prosecuted individuals arrested in

the    course    of    the   Bureau      of   Alcohol,    Tobacco,     Firearms,     and

Explosives (“ATF”) sting operations known as a “stash house raids.”

This now abandoned practice deployed an undercover ATF agent to

approach    a    target      or    targets      with   the    opportunity      to    rob

nonexistent drug stash houses and then arrest successful recruits
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 2 of 16 PageID #:4441



prior to the proposed raid. The individuals who agreed to the

robbery were charged based on the fabricated circumstances that

had been communicated by the ATF prior to arrest, often resulting

in lengthy mandatory minimum sentences. The ATF has now abandoned

these types of operations. In the mid-2010’s, the Government

altered its charging practices as it related to any defendants

still awaiting trial on a stash house raid case. It is through

this lens that the Court views White’s Motion.

     In the summer of 2009, an undercover ATF agent approached

Leslie Mayfield with the opportunity to rob a fictious stash house.

(Presentence Investigation Report (“PSR”) at 7, Dkt. No. 278.) The

undercover      agent   posed   as    a    courier    for     a    drug    trafficking

organization. (Id.) The agent explained that the organization’s

stash house typically had between 20 and 30 kilograms of cocaine

on site. (Id.) The agent further explained that he usually observed

three   armed    men    guarding     the   stash     house.       (Id.    at   7–8.)   In

response, Mayfield said he would have to obtain firearms for the

purpose of the robbery. (Id. at 8) Once Mayfield agreed to plan

the robbery with the undercover agent, he recruited Montreece

Kindle, Nathan Ward, and a man called “New York” to assist. (Id.)

     On the day of the robbery, August 10, 2009, “New York”

abandoned the scheme. (Mot. at 3, Dkt. No. 372.) As a result,

Mayfield     needed      to     quickly      find      a    replacement.          After

unsuccessfully reaching out to several people, Mayfield turned to

                                       - 2 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 3 of 16 PageID #:4442



a close friend and someone he knew he could trust—White. (7/12/10

Tr. at 814:16–20, Dkt. No. 239.) Recollections differ regarding

White’s knowledge of the specifics of the plan. Mayfield testified

that he did not explain the plan to White. (Id. at 815:16–816:3.)

The undercover ATF agent, however, stated that he confirmed White

understood the plan for the robbery. (PSR at 8.) In any event, the

agent took the time to explain the plan to White on the date the

robbery was to take place, and White agreed to join the scheme.

(Id.) Once the undercover agent confirmed that the group was

prepared for the robbery and that the men were armed, the ATF

arrested Mayfield and his crew, including White. (Id.)

     Following his arrest, White was indicted on four counts in

connection to the stash house raid. (Indict., Dkt. No. 18.) Counts

One and Two charged all four defendants with conspiracy to possess

with the intent to distribute five kilograms or more of mixtures

containing cocaine in violation of 21 U.S.C § 841(a)(1). (Id. at

1–2.) The drug weight that formed the basis for this charge was

taken from the undercover ATF agent’s representation of the volume

of cocaine at the fictitious stash house. Counts One and Two each

carried mandatory minimum sentences of ten years imprisonment. 21

U.S.C § 841(b)(1)(A). Count Three charged all four defendants with

possession of firearms in furtherance of a drug trafficking crime

in violation of 18 U.S.C. § 924(c)(1)(A). (Indict. at 3.) Count

Three carried a mandatory minimum sentence of five years to be

                                    - 3 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 4 of 16 PageID #:4443



served     consecutively     with    any    other    sentence.      18   U.S.C.

§ 924(c)(1)(A)(i). Count Seven charged White with possessing a

firearm after being convicted of a felony, in violation of 18

U.S.C. § 922(g)(1). (Indict. at 7.) Based on the Indictment, White

faced a mandatory minimum sentence of 15 years imprisonment.

     Under the applicable version of the Controlled Substances

Act, White’s statutory mandatory minimum could be increased to

twenty years if his conviction occurred “after a prior conviction

for a felony drug offense [became] final.” 21 U.S.C. § 841(b)(1)(A)

(2009). In order to subject White to the increased mandatory

minimum,    before   trial   or   the   entry   of   a   plea   agreement    the

Government was required to file an 851 Notice, which is a document

“stating in writing the previous convictions to be relied upon.”

Id. § 851(a)(1).

     White maintained his innocence and declined to accept a plea

agreement. (Mot. at 4.) In advance of trial, the Government filed

an 851 Notice as to White. (851 Notice at 1, Dkt. No. 54.) The 851

Notice relied on White’s prior felony drug conviction to seek a

20-year mandatory minimum sentence for Counts I and II of the

Indictment. (Id. at 1–2.) As a result of the 851 Notice, White

then faced a mandatory minimum sentence of 25 years imprisonment.

     White proceeded to trial alongside his three co-defendants—

Mayfield, Kindle, and Ward. On July 14, 2010, a jury convicted

each Defendant on all four counts for which they were indicted.

                                    - 4 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 5 of 16 PageID #:4444



(7/14/10 Order, Dkt. No. 186.) On April 28, 2011, White was

sentenced to 25 years imprisonment—the lowest possible sentence

the Court could enter. (4/28/11 Tr. at 7:3–8:24, Dkt. No. 282.)

       Only Mayfield successfully appealed his conviction. In 2017,

the Seventh Circuit, sitting en banc, found that the Court’s pre-

trial ruling barring invocation of an entrapment defense to be in

error. United States v. Mayfield, 771 F.3d 417, 420 (7th Cir.

2014). Mayfield’s case was remanded for a new trial. Id. at 443.

Because only Mayfield sought to invoke an entrapment defense, the

Seventh Circuit’s ruling only vacated his guilty verdict. Id. On

remand, Mayfield’s case was assigned a new case number and he was

eventually charged under a superseding information. (Superseding

Info., United States v. Mayfield, 15-cr-497, Dkt. No. 145.) By

2018   the     United   States       Attorney’s       Office    had    instituted     new

policies for its prosecution of any remaining stash house cases.

As a result, the Superseding Information only charged Mayfield

with   conspiracy       to    commit    robbery    in    violation      of   18     U.S.C.

§ 1951(a). (Id.) Unlike the previously charged drug offenses, the

robbery      offense    did    not     carry   a   statutory      mandatory       minimum

penalty. 18 U.S.C. § 1951(a) (imposing a statutory maximum penalty

of 20 years imprisonment). In March 2018, Mayfield entered into a

plea agreement on the robbery charge. (Plea Agreement, United

States    v.   Mayfield,       15-cr-497,      Dkt.     No.    142.)   In    June    2018,

Mayfield was sentenced to 114 months imprisonment which, when

                                          - 5 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 6 of 16 PageID #:4445



accounting for good time credit, was essentially time served.

(Sent’g Order, United States v. Mayfield, 15-cr-497, Dkt. No. 160.)

Mayfield was released from prison on June 15, 2018.

     White has been incarcerated for nearly 12 years and has not

yet completed half of his sentence. On March 1, 2021, White moved

for compassionate release pursuant to the First Step Act, 18 U.S.C.

§ 3582(c)(1)(A). (Dkt. No. 372). The Court now decides that Motion.

                            II. LEGAL STANDARD

     Pursuant to the First Step Act, 18 U.S.C. § 3582(c)(1)(A),

once an inmate has “fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf” or after 30 days following “the receipt of

such a request by the warden of the defendant’s facility,” he may

move the Court to reduce his term of imprisonment. The Court must

consider whether (1) “extraordinary and compelling circumstances”

warrant a reduction of the sentence; and (2) a reduction is

consistent with the sentencing factors in 18 U.S.C. § 3553(a). See

18 U.S.C. § 3582(c)(1)(A)(i); United States v. Gunn, 980 F.3d 1178,

1179 (7th Cir. 2020). In 2020, the Seventh Circuit clarified that

the policy statements in the United States Sentencing Guidelines

(“U.S.S.G.”) § 1B1.13 “address[] motions and determinations of the

Director, not motions by prisoners.” Gunn, 980 F.3d at 1180.

Because the Sentencing Commission has not updated the policy

statements to reflect prisoner-initiated motions, the First Step

                                    - 6 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 7 of 16 PageID #:4446



Act   “sets   the     standard:    only   ‘extraordinary      and   compelling

reasons’ justify the release of a prisoner who is outside the scope

of § 3582(c)(1)(A)(ii).” Id. Post-Gunn, the Court may use, but is

not   required   to   use,   the   policy    statements    reflected    in   the

comments of U.S.S.G. § 1B1.13 as guidance when exercising their

discretion in determining whether extraordinary and compelling

circumstances exist for compassionate release. Id.

                              III. DISCUSSION

      It is undisputed that White has met the statutory exhaustion

requirement, so the Court turns to whether White has established

extraordinary and compelling circumstances warranting a reduction

of his sentence and if that reduction is consistent with the

sentencing factors in 18 U.S.C. § 3553(a). For the reasons set

forth below, the Court finds in White’s favor on both elements and

grants his Motion for Compassionate Release.

              1. Extraordinary and Compelling Circumstances

      Prior to the First Step Act, the criteria for compassionate

release were narrowly defined by the policy statements in U.S.S.G.

§ 1B1.13 to include just three circumstances — serious medical

reasons, age, and family circumstances. U.S.S.G. § 1B1.13 cmt.

n.1(A)–(C). These Sentencing Guidelines comments also include a

catch-all provision that permits release if “there exists in the

defendant's case an extraordinary and compelling reason other

than, or in combination with, the reasons described in subdivisions

                                     - 7 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 8 of 16 PageID #:4447



(A) through (C).” Id. § 1B1.13 cmt. n.1(D). These policy statements

have not been updated since the First Step Act permitted prisoners

to initiate compassionate release motions. Gunn, 980 F.3d at 1180.

As discussed above, in Gunn the Seventh Circuit concluded that

because there is no policy statement that applies to prisoner-

initiated motions, the Sentencing Guidelines, are not the sole

arbiter of the Court's extraordinary and compelling determination.

Id.

       The Seventh Circuit is not alone in recognizing that “the

First Step Act freed district courts to exercise their discretion

in    determining   what    are   extraordinary      circumstances.”     United

States v. Brooker, 976 F.3d 228, 234 (2d Cir. 2020). Using this

broader framework for determining extraordinary and compelling

reasons for compassionate release federal courts have considered

sentencing disparities, changes in the law, and the injustice of

lengthy sentences when granting compassionate release motions. See

Brooker, 976 F.3d at 238 (remanding for consideration of the

defendant’s age and the length of his sentence); see also United

States v. McCoy, 981 F.3d 271, 286 (4th Cir. 2020) (affirming

compassionate release based on the length of the defendants’

sentences and “the disparity between their sentences and those

that Congress deemed appropriate in the First Step Act”); United

States    v.   Haynes,     456    F.Supp.3d   496,    514   (E.D.N.Y.     2020)

(concluding that the length of the original sentence, the severity

                                     - 8 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 9 of 16 PageID #:4448



compared to co-defendants, and the harshness compared to current

sentencing     guidelines      warranted    a   sentence   reduction);    United

States v. Cano, No. 95-CR-00481, 2020 WL 7415833, at *6 (S.D. Fla.

Dec. 16, 2020) (finding that disparities in sentences, among other

things, warranted a sentence reduction). The Court recognizes

that, in making this determination, it should not “creat[e] a sort

of    Wild   West   in   court,   with     every   district    judge   having   an

idiosyncratic release policy.” Gunn, 980 F.3d at 1180. Instead,

the    Court   carefully       considers    whether    White’s    situation     is

uniquely compelling such that the Court can grant compassionate

release.

       The Court now turns to White’s sentence. When the undercover

ATF agent described the fictitious stash house to Mayfield, he

indicated that there could be 20–30 kilograms of cocaine on the

premise. (PSR at 7.) As a result, White was indicted and eventually

convicted for two drug offenses involving five or more kilograms

of cocaine. (7/14/10 Order.) These offenses carried a minimum of

ten years imprisonment and were increased to twenty years upon the

Government filing an 851 Notice. 21 U.S.C. § 841(b)(1)(A). In

short, twenty years of White’s mandatory 25-year sentence were

based    solely     on   the   fictious    circumstances      described   by    the

undercover ATF agent prior to his arrest.

       The inherent inequity in this sentence is revealed when

compared to White’s co-defendant Mayfield. The undercover ATF

                                      - 9 -
    Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 10 of 16 PageID #:4449



agent approached Mayfield with the fictious raid opportunity. (PSR

at 7.) Mayfield then recruited Kindle, Ward, and “New York” and

together the men made plans to carry out the robbery. (Id.) White

was not involved in the planning or preparation for the robbery.

(Id. at 7–8.) Instead, White was asked to participate at the last

minute, when “New York” dropped out. (Id. at 8.) Indeed, the first

time the undercover ATF agent met White was at the meetup on the

day of the planned robbery. (Id.) Mayfield, as the orchestrator of

the robbery is undoubtedly the most culpable. Because Mayfield’s

sentence      was   vacated,    he    was   able   to   take     advantage   of   the

Government’s changed policies surrounding stash house raid cases.

(See Superseding Info. (charging Mayfield with the lesser offense

of conspiracy to commit robbery).) Instead of a serving more than

25 years, Mayfield was ultimately re-sentenced to just 9.5 years,

which was effectively time served. (Sent’g Order.) As a result,

Mayfield is no longer in prison today.

        By contrast, White’s late arrival to the group makes him the

least     culpable.     White’s      mandatory     25-year     sentence   does    not

reflect the substantially smaller role he played as compared to

his co-defendants. White continues to be imprisoned solely based

on the now abandoned stash house raids and their accompanying

prosecution policies. Considering similar facts in the context of

a    compassionate      release      motion,   Judge    Sharon    Johnson    Coleman

concluded that these are the types of cases where “compassionate

                                        - 10 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 11 of 16 PageID #:4450



release [is] warranted based on the injustice and unfairness of a

prosecution and resultant sentence.” United States v. Conley,

No. 11 CR 0779-6, 2021 WL 825669, at *4 (N.D. Ill. Mar. 4, 2021)

(granting    compassionate       release   for   a    defendant   convicted    in

connection with a stash house raid).

     For all these reasons, the Court concludes that there are

extraordinary and compelling reasons to reduce White’s sentence.

            2. Sentencing Factors under 18 U.S.C. § 355(a)

     Having determined there exists extraordinary and compelling

circumstances warranting White’s release, the Court turns to the

issue of whether such a reduction is consistent with the sentencing

factors    under   18   U.S.C.    §   3553(a).   The    Section   3553   factors

include: (1) the nature and circumstances of the offense; (2)

defendant’s history and characteristics; (3) the need for the

sentence to reflect the seriousness of the offense, deter criminal

conduct,    protect     the      public,   and       provide   defendant    with

educational or vocational training and medical care; (4) the types

of sentences available; (5) sentencing recommendations and policy

statements from the Sentencing Commission; (6) the need to avoid

sentencing disparities; and (7) the need to provide restitution to

the victims. United States v. Dawson, 980 F.3d 1156, 1162 (7th

Cir. 2020); United States v. Miller, 834 F.3d 737, 744 (7th Cir.

2016). The Court considers these factors below.



                                      - 11 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 12 of 16 PageID #:4451



      The Court first evaluates the nature and circumstances of the

offense and White’s culpability in the crime. Armed robbery and

narcotics offenses, even if under fictitious circumstances, are

serious crimes. As discussed above, however, White had no role in

planning the execution of the stash house robbery. (See, e.g., PSR

at 7–8.) Instead, he joined the scheme the day the robbery was set

to occur. (Id. at 8.) In addition, it is not entirely clear that

White knew what he was agreeing to do prior to the undercover ATF

agent     explaining   the   scheme    shortly     before    White’s    arrest.

(Compare 12/16/10 Tr. 815:16–816:3 with PSR at 8.) For these

reasons, the Court finds White to be the least culpable of his co-

defendants.

        The Court also considers the need for the sentence to reflect

the severity of the offense and deter future criminal prosecutions.

To   start,   one   reason     the   Government    no    longer   pursues    the

fictitious     stash   house    prosecutions      is    because   the   charged

offenses were based on fictitious drug weights that dramatically

overstated the severity of the actual conduct. Nowhere is this

made clearer than the Government’s decision to reduce Mayfield’s

charge to conspiracy to commit robbery—a charge that did not carry

a mandatory minimum sentence. (See Superseding Info.) Viewed in

this light, White’s sentence already overstates the severity of

the offense conduct.



                                     - 12 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 13 of 16 PageID #:4452



       Moreover, White serving the remainder of his 25-year sentence

is not likely to deter future criminal conduct, by the general

public or White. Starting with the general public, stash house

robberies occurred and continue to occur outside of the ATF’s sting

operations. The length of White’s sentence, and others like it,

was crafted in part to deter any criminal actor from engaging in

this type of conduct. Here, the Court concludes that White serving

just 12 years of his sentence will not impact the deterring purpose

of the initial sentence. This is particularly true where White’s

release is based on his unique circumstances.

       As to White, the Court is persuaded by his rehabilitative

conduct     over   the    course   of    his    imprisonment.    White   has   no

disciplinary incidents on his record and “has a good rapport with

staff and other inmates.” (BOP Records at 3, Mot., Ex. H, Dkt.

373-1.) In 2012 White earned his GED and since then has taken more

than   25   courses      on   topics    ranging   from   time   management     and

financial literacy to self-image and victim impact. (Id. at 1–2.)

White’s coursework demonstrates that he has taken serious and

meaningful steps to build the skill set necessary to be successful

post-release. White also has worked a variety of jobs within the

Bureau of Prisons. (Mot. at 7.) He is currently working as a

recreation orderly and “receives good work reports.” (BOP Records

at 1.) The steps White has taken towards rehabilitation support

release.

                                       - 13 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 14 of 16 PageID #:4453



     The Court also considers White’s personal circumstances and

his proposed release plan. White proposes a detailed release plan

that articulates how he plans to successfully transition out of

incarceration. (Release Plan, Mot., Ex. I, Dkt. No. 373-2.) White

intends to live with his aunt and uncle, who will “happily welcome

him” into their home and support his reentrance into society. (Id.

at 2; Neal Ltr. at 1, Mot., Ex. J, Dkt. No. 372-9.) A review of

this home by a licensed clinical social worker concluded it would

be a “safe and appropriate placement for Mr. White. (Release Plan

at 2.) His new home will be in close proximity to his daughter and

mother, two key pieces of White’s described support system. (Mot.

at 8.) Indeed, despite being incarcerated for her entire life,

White has developed and maintained a strong relationship with his

daughter. (See, e.g., White Letter at 4–5, Mot., Ex. A, Dkt. No.

372-2; Dee Ltr. at 1–2, Mot., Ex. G, Dkt. No. 372-8; Mason Ltr. at

1, Mot., Ex. C, Dkt. No. 372-4; D. White Ltr. at 2, Mot. Ex. D,

Dkt. No. 372-5.)

     White    also   has   two   job   offers:    one   at   Superior   Medical

Solutions (“SMS”) and the other at Bzzz Delivery Services. (Release

Plan at 3–4.) Notably, SMS has offered White full-time employment,

with the possibility for overtime, as well as full benefits,

including medical and dental insurance, a 401k, profit-sharing,

and vacation time. (Sawyer Ltr. at 1, Mot., Ex. K, Dkt. No. 372-

10.) White’s strong network of support as well as his opportunities

                                    - 14 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 15 of 16 PageID #:4454



to be immediately employed to provide for himself and his daughter

supports his release from prison.

     Finally, and most significantly, the Court considers the

disparity in sentencing. White’s 25-year sentence is more than

double Mayfield’s 114-month sentence. As discussed above, this

disparity is inequitable considering Mayfield was the ATF’s target

and White’s minimal participation.

     Additionally, any danger associated with releasing White from

prison will be mitigated by ten years of supervised release. The

ten-year period of supervised release provides White with the means

to be successful in his transition upon release while the United

States Probation Office retains a significant role in ensuring

White abides by terms of his supervised release.

     For all these reasons, the Court concludes that reducing

White’s sentence is consistent with the Section 3553 sentencing

factors.

                               IV. CONCLUSION

     For the reasons stated herein, the Court, in its discretion,

grants White’s Motion for Compassionate Release pursuant to the

First Step Act, 18 U.S.C. § 3582(c)(1)(A)(i). White’s sentence is

reduced to time served. This order is stayed for fourteen (14)

days for the verification of White’s residence, to finalize his




                                    - 15 -
 Case: 1:09-cr-00687 Document #: 386 Filed: 08/05/21 Page 16 of 16 PageID #:4455



release plan, to make appropriate travel arrangements, and to

ensure White’s safe release.


IT IS SO ORDERED.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

Dated: 8/5/2021




                                    - 16 -
